      Case 2:05-cr-00119-CDL-CSC Document 294 Filed 04/05/06 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA OF
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )   CASE NO. 2:05-cr-119-MEF
                                           )
PAUL MICHAEL HAMRICK                       )

                                        ORDER

       After an independent review of the file, it is the ORDER, JUDGMENT and DECREE

of the court that:

       (1) The defendant's Objection to Magistrate Judge's Recommendation (Doc. #264)

filed on March 28, 2006 is overruled;

       (2) The Recommendation of the United States Magistrate Judge entered on March

15, 2006 (Doc. #238) is adopted;

       (3) The defendant's motions to dismiss (Doc. #155 and 156) are DENIED.

       DONE this the 5th day of April, 2006.




                                                 /s/ Mark E. Fuller
                                         CHIEF UNITED STATES DISTRICT JUDGE
